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 1   BRUCE LOCKE (#177787)
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 4   Attorneys for
     GAVRILO SPAICH
 5
 6                             IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                   No. CR. S-08-440 JAM
                                         )
 9                     Plaintiff,        )
                                         )                   STIPULATION AND ORDER
10                                       )                   CONTINUING THE DATE FOR
           v.                            )                   SENTENCING AND SETTING A
11                                       )                   NEW SCHEDULE FOR FILING OF
     GAVRILO SPAICH, et al.,             )                   FORMAL OBJECTIONS AND
12                                       )                   SENTENCING MEMORANDA
                       Defendants.       )
13   ____________________________________)
14           IT IS HEREBY STIPULATED AND AGREED between the defendant, Gavrilo Spaich, by
15   and through his defense counsel, Bruce Locke, and the United States of America, by and through its
16   counsel, Assistant United States Attorney Steven Lapham, that the date for sentencing shall be
17   continued from April 12, 2011 to May 10, 2011.
18           It is further stipulated that the Motion for Correction of the Pre-Sentence Report shall be
19   filed with the Court and served upon opposing counsel and the Probation Officer no later than April
20   26, 2011; and the Reply or Statement of Non-Opposition shall be filed with the Court no later than
21   May 3, 2011.
22           The reason for the continuance is that the Probation Officer included representations in the
23   Pre-Sentence Report as to facts that predate the offenses to which Mr. Spaich pled guilty and it is
24   necessary that the defense gather additional information to contest those factual allegations because
25   the allegations are prejudicial to Mr. Spaich. Additionally, there is a question as to the accuracy of
26   the criminal history and the defense needs to gather the actual court files to contest the assertions in
27   the Pre-Sentence Report. Also, Mr. Spaich needs to undergo medical tests and the additional time
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 1   is necessary to conduct those tests. Mr. Lapham has authorized Mr. Locke to sign this stipulation and
 2   proposed order for him.
 3
 4   DATED: March 30, 2011                             /S/ Bruce Locke
                                                   BRUCE LOCKE
 5                                                 Attorney for Gavrilo Spaich
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10
     DATED: March 30, 2011                             /S/ Bruce Locke
11                                                 for STEVEN LAPHAM
                                                   Attorney for the United States
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16          IT IS SO ORDERED.
17
     DATED: 3/30/2011                              /s/ John A. Mendez
18                                                 JOHN A. MENDEZ.
                                                   United States District Judge
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